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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 18-61828-CIV-WPD/LSS



  AMGEN INC. and AMGEN
  MANUFACTURING LIMITED,

                       Plaintiffs,

            v.

  APOTEX INC. and APOTEX CORP.,

                       Defendants.



                   AMGEN’S UNOPPOSED MOTION FOR LEAVE TO AMEND
                     THE JOINT CLAIM CONSTRUCTION STATEMENT

            Plaintiffs Amgen Inc. and Amgen Manufacturing, Ltd. (collectively, “Amgen”) move for

  leave to amend the Joint Claim Construction Statement (ECF No. 74, the “JCCS”). Defendants

  Apotex Inc. and Apotex Corp. (collectively, “Apotex”) do not oppose any of the relief requested

  herein.

                                              ARGUMENT

            Claim construction is an issue of law for the Court to decide. O2 Micro Intern. Ltd. v.

  Beyond Innovation Tech. Co., Ltd., 521 F.3d 1351, 1360 (Fed. Cir. 2008) (“When the parties

  raise an actual dispute regarding the proper scope of these claims, the court, not the jury, must

  resolve that dispute.”); Markman v. Westview Instruments, Inc., 52 F.3d 967, 976 (Fed. Cir.

  1995) (en banc), aff’d 517 U.S. 370 (1996). Following the parties’ submission of the JCCS,

  Amgen revised its proposed constructions of two claim terms of U.S. Patent No. 9,856.287 (“the

  ’287 patent”) to reduce the number of disputes between the parties. Specifically, Amgen revised
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  its proposed constructions of “wherein the amounts of the oxidant and the reductant are related

  through a thiol-pair ratio and a thiol-pair buffer strength” and “wherein the thiol-pair buffer

  strength maintains the solubility of the solution.” In addition, the parties noticed an inadvertent

  typographical error in the JCCS in the recitation of one of the disputed claim terms. Amgen

  moves for leave to amend the JCCS to include Amgen’s revised proposed constructions and to

  correct the typographical error. A copy of the Amended JCCS is attached as Exhibit A.

         Good cause exists to amend the JCCS to accurately present the parties’ claim

  construction disputes to the Court. No party is prejudiced by this amendment. The motion is

  requested in good faith, not for the purposes of delay and will not affect the case schedule.

  Claim construction briefs have not been filed by any party, and Apotex is separately moving for

  an additional two-week extension to the deadline for filing Opening Claim Construction Briefs.

                                           CONCLUSION

         For the forgoing reasons, Amgen respectfully requests that this Court grant its unopposed

  motion for leave to amend the JCCS. For the Court’s convenience, a proposed Order granting

  this Motion is attached as Exhibit B.

                               LOCAL RULE 7.1 CERTIFICATION

         Counsel for Amgen conferred with counsel for Apotex regarding the issues raised by this

  Motion. Apotex does not oppose the relief sought in this Motion.




  Dated: July 25, 2019                          By: /s/ John F. O’Sullivan
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 25, 2019, a true and correct copy of the foregoing was

  electronically filed with the Clerk of the Court using CM/ECF. Copies of the foregoing

  document will be served upon interested counsel either via transmission of Notices of Electronic

  Filing generated by CM/ECF or in some other authorized manner for those counsel or parties

  who are not authorized to receive electronically Notices of Electronic Filing.


                                               By: /s/ John F. O’Sullivan
                                               John F. O’Sullivan
                                               Fla. Bar No. 143154




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